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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                           BROWNSVILLE DIVISION


STATE OF TEXAS, et al.,

Plaintiffs,

v.                                         Case No. 18-cv-00068

UNITED STATES OF AMERICA, et al.,

Defendants,

and

KARLA PEREZ, et al.,

Defendant-Intervenors.


              FEDERAL DEFENDANTS’ UNOPPOSED MOTION TO APPEAR
                   ON BEHALF OF THE ATTORNEY-IN-CHARGE
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       Pursuant to the Notice of Setting (ECF No. 506), and the local rules of this Court, Federal

Defendants submit this Unopposed Motion to Appear on Behalf of Attorney-In-Charge,

requesting that the Court grant the attached order allowing John Coghlan to appear as counsel for

Defendants at the hearing on Plaintiffs’ motion for summary judgment scheduled for December

22, 2020 at 10:00 a.m., or on a new date that the Court may set.1 Good cause supports this

Unopposed Motion. As Deputy Assistant Attorney General of the Federal Programs Branch, Mr.

Coghlan is familiar with this case, as well as the DACA-rescission cases that may bear on the

issues before this Court. Mr. Coghlan has authority to bind the Federal Defendants.

       On December 7, 2020, counsel for Federal Defendants conferred with counsel for

Plaintiffs and Defendant-Intervenors who do not oppose this motion.

       WHEREFORE, Federal Defendants pray that the Court grant this Unopposed Motion and

allow John Coghlan to appear as counsel for Federal Defendants at the hearing scheduled for

December 22, 2020.




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 On December 7, 2020, Defendant-Intervenor MALDEF filed a motion to continue the hearing to
January 4, 2021. ECF No. 538.

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Dated: December 16, 2020                         Respectfully submitted,
JEFFREY BOSSERT CLARK                            /s/ James J. Walker
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                                CERTIFICATE OF SERVICE


       I certify that on December 16, 2020, this document was electronically filed with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.

                                                    /s/ James J. Walker
                                                    JAMES J. WALKER
